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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IN RE GOOGLE DIGITAL ADVERTISING
 ANTITRUST LITIGATION
                                                    No. 21-MD-3010 (PKC)


 THE STATE OF TEXAS, et al.,

                               Plaintiffs,

               - against -

 GOOGLE LLC                                         No. 21-cv-6841 (PKC)

                              Defendants.




   [PROPOSED[ ORDER GRANTING MOTION TO WITHDRAWAL AS COUNSEL

       Before the Court is a Motion to Withdraw Brooke Clason Smith as Counsel for the

Plaintiff States, Texas, Idaho, Indiana, Mississippi, North Dakota, South Carolina, and South

Dakota in the above-captioned proceeding. The Court has determined that the motion should be

granted.

       IT IS HEREBY ORDERED that Brooke Clason Smith is withdrawn as counsel for the

Plaintiff States, Texas, Idaho, Indiana, Mississippi, North Dakota, South Carolina, and South

Dakota and shall be removed from the Case Management/Electronic Case Files (CM/ECF)

notification in the above-captioned proceeding.



DATE:__________________________                     ________________________________
                                                    United States District / Magistrate Judge
